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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA

BENJAMIN CRAIG, Individually and on Behalf        Case No. 3:17-cv-01005-RGJ-JPM
of All Others Similarly Situated,

                           Plaintiff,

      vs.

CENTURYLINK, INC., GLEN F. POST III, and
STEWART EWING JR.,

                           Defendants.

DON J. SCOTT, Individually and on Behalf of All   Case No. 3:17-cv-01033-RGJ-JPM
Others Similarly Situated,

                           Plaintiff,

      vs.

CENTURYLINK, INC., GLEN F. POST III, R.
STEWART EWING JR., and DAVID D. COLE

                           Defendants.


  MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF THE DETROIT
INSTITUTIONAL INVESTOR GROUP FOR CONSOLIDATION, APPOINTMENT AS
      LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
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       Proposed Lead Plaintiff Police and Fire Retirement System of the City of Detroit

(“Detroit P&F”) and Laborers Pension Trust Fund – Detroit and Vicinity (“Detroit Laborers”)

(collectively, the “Detroit Institutional Investor Group”), respectfully submits this Memorandum

of Law pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform Act

of 1995 (the “PSLRA”), in support of its motion for the entry of an Order: (i) consolidating the

above-captioned actions1 (“Related Actions”) pursuant to Rule 42(a) of the Federal Rules of

Civil Procedure (“FRCP”); (ii) appointing the Detroit Institutional Investor Group as Lead

Plaintiff for a Class (as defined herein) of all persons or entities who purchased or otherwise

acquired the securities of CenturyLink, Inc. (“CenturyLink” or the “Company”) between March

1, 2013 and June 19, 2017, inclusive2 (the “Class Period”); (iii) approving the Detroit

Institutional Investor Group’s selection of the law firms of Labaton Sucharow LLP (“Labaton

1
         Three nearly identical securities class actions have been filed to-date, the first two actions
initially filed in the United States District Court for the Southern District of New York
(“S.D.N.Y.”), Thummeti v. CenturyLink, Inc., No. 17-cv-04695-PGG and Craig v. CenturyLink,
Inc., No. 17-cv-04740, while the third action filed in this Court, Scott v. CenturyLink, Inc., No.
17-cv-01033-RGJ-JPM. The Craig Action was subsequently transferred from the S.D.N.Y. to
this Court pursuant to a Joint Stipulation and Order signed on August 8, 2017. Similarly, the
New York court entered an order to transfer the first-filed Thummetti Action to the Western
District of Louisiana pursuant to Stipulation and Order dated August 16, 2017. Accordingly, the
Detroit Institutional Investor Group anticipates all three actions will proceed in the Western
District of Louisiana as one consolidated action. However, because the Thummetti Action was
not officially closed in the S.D.N.Y. as of the date of this filing, the Detroit Institutional Investor
Group has notified that court of the filing of this motion and supporting materials in this Court.
2
         The Related Actions assert different, albeit overlapping, class periods. For purposes of
appointing a lead plaintiff, the longest alleged class period governs. See, e.g., In re BP, plc Sec.
Litig., 758 F. Supp. 2d 428, 434 (S.D. Tex. 2010) (evaluating financial interest of movants based
on longest noticed class period that was not obviously frivolous and agreeing with other courts
that “have found it generally inappropriate to narrow the class period at this stage of the
litigation”); In re Bear Stearns Co., Inc. Sec., Derivative, & ERISA Litig., No. 08 M.D.L. No.
1963 (RWS), 2009 WL 50132, at *8 (S.D.N.Y. Jan. 5, 2009) (“[I]n circumstances like the one
here, the lead plaintiff analysis should utilize the most inclusive class period because ‘it
encompasses more potential class members . . . .’”) (internal citations omitted).


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Sucharow”) and Kirby McInerney LLP (“Kirby McInerney”) as Co-Lead Counsel and Fishman

Haygood L.L.P. (“Fishman Haygood”) as Liaison Counsel for the Class; and (iv) granting such

other and further relief as the Court may deem just and proper.

                                 PRELIMINARY STATEMENT

        The members of the Detroit Institutional Investor Group—like-minded, Detroit-based,

institutional investors with a history of successful fiduciary leadership outside of this litigation—

respectfully submit that they should be appointed Lead Plaintiff on behalf of all investors who

purchased or otherwise acquired CenturyLink securities during the Class Period (the “Class”).

The Related Actions allege violations of Sections 10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§ 78j(b) and 78t(a), and SEC Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-

5, against CenturyLink, Glen F. Post III, CenturyLink’s Chief Executive Officer (“CEO”),

President, and Director, R. Stewart Ewing Jr., CenturyLink’s Chief Financial Officer (“CFO”),

Executive Vice President and Assistant Secretary, and David D. Cole, CenturyLink’s Executive

Vice President3 and Controller (collectively, the “Defendants”).

        The PSLRA requires that the Court appoint the “most adequate plaintiff” to serve as Lead

Plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(i). In that regard, the Court must determine which person

or groups of persons have the “largest financial interest” in the relief sought by the Class in the

litigation, and also whether such movant has made a prima facie showing that it is a typical and

adequate class representative under Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”).

See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

        For the reasons discussed below, the Detroit Institutional Investor Group is the “most

adequate plaintiff” by virtue of its substantial financial interest in this litigation. The Detroit


3
        The Scott Action is the only Action that names David D. Cole as a Defendant.


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Institutional Investor Group incurred losses of more than $1,047,041 on its Class Period

transactions in CenturyLink securities as calculated on a last-in-first-out (“LIFO”) basis.4

Accordingly, the Detroit Institutional Investor Group has a substantial financial interest in

directing this litigation and recovering losses attributable to Defendants’ violations of federal

securities laws—an interest believed to be greater than that of any other qualified movant.

       The Detroit Institutional Investor Group also meets the typicality and adequacy

requirements of Rule 23 because its claims are typical of those of absent Class members, and

because it will fairly and adequately represent the interests of the Class. Indeed, as institutional

investors responsible for overseeing approximately $4.6 billion in collective assets on behalf of

approximately 21,000 total beneficiaries, the Detroit Institutional Investor Group is the

prototypical lead plaintiff envisioned by Congress to represent shareholders in securities class

actions. See H.R. Conf. Rep. No. 104-369, at *34 (1995), as reprinted in 1995 U.S.C.C.A.N.

730, 733 (explaining that “increasing the role of institutional investors in class actions will

ultimately benefit shareholders and assist courts by improving the quality of representation in

securities class actions”); Glauser v. EVCI Career Colls. Holding Corp., 236 F.R.D. 184, 188

(S.D.N.Y. 2006) (“the PSLRA was passed . . . to increase the likelihood that institutional

investors would serve as lead plaintiffs in actions such as this one”) (citation omitted).

       Moreover, the Detroit Institutional Investor Group has further demonstrated its ability to

effectively oversee this litigation and its commitment to working cohesively to prosecute the

Related Actions by conferring prior to filing this motion in order to establish a coordinated

4
        A copy of the Certifications of Detroit P&F and Detroit Laborers (“Certifications”), is
attached as Exhibit A to the Declaration of Jason W. Burge (the “Burge Decl.”). The
Certifications set forth all transactions of the Detroit Institutional Investor Group in CenturyLink
securities during the Class Period. In addition, a table reflecting the calculation of financial
losses sustained by the Detroit Institutional Investor Group on its Class Period transactions in
CenturyLink securities (“Loss Analysis”), is attached as Exhibit B to the Burge Declaration.


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strategy for prosecuting the litigation, including overseeing proposed Lead Counsel. See Joint

Declaration of the Detroit Institutional Investor Group’s Motion for Consolidation, Appointment

as Lead Plaintiff and Approval of Selection of Counsel (“Joint Decl.”) ¶¶ 8-9, Burge Decl. Ex.

C; Canson v. WebMD Health Corp., No. 11 Civ. 5382 (JFK), 2011 WL 5331712, at *3

(S.D.N.Y. Nov. 7, 2011) (appointing group of two pension funds that “have stated their intention

to work together on behalf of the class”). Accordingly, the Detroit Institutional Investor Group

is the “most adequate plaintiff” and should be appointed Lead Plaintiff.

       Finally, pursuant to the PSLRA, the Detroit Institutional Investor Group respectfully

requests that the Court approve the selection of Labaton Sucharow and Kirby McInerney as Co-

Lead Counsel for the Class. See 15 U.S.C. § 78u-4(a)(3)(B)(v) (“[T]he most adequate plaintiff

shall, subject to the approval of the court, select and retain counsel to represent the class.”).

Labaton Sucharow and Kirby McInerney are nationally recognized securities class action

litigation firms that have recovered billions of dollars in damages for defrauded investors.

       Accordingly, the Detroit Institutional Investor Group respectfully requests that the Court

appoint it as Lead Plaintiff for the Class and approve its selection of Counsel.

                                   FACTUAL BACKGROUND

       CenturyLink, Inc. provides various communications services to residential, business,

wholesale, and governmental customers in the United States. It operates through two segments,

Business and Consumer. The Company offers broadband, Ethernet, colocation, video

entertainment and satellite digital television services.

       The Related Actions allege that throughout the Class Period, Defendants made materially

false and misleading statements regarding the Company’s business, operational and compliance

policies. Specifically, the Related Actions allege that Defendants made false and/or misleading

statements and/or failed to disclose that: (i) CenturyLink’s policies allowed its employees to add

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services or lines to accounts without customer permission, resulting in millions of dollars in

unauthorized charges to CenturyLink customers; (ii) accordingly, the Company’s revenues were

the product of illicit conduct and unsustainable; (iii) the foregoing illicit conduct was likely to

subject CenturyLink to heightened regulatory scrutiny; and (iv) as a result of the foregoing,

CenturyLink’s public statements were materially false and misleading at all relevant times.

       On June 16, 2017, Bloomberg published an article entitled “CenturyLink Is Accused of

Running a Wells Fargo-Like Scheme”. The article reported on a lawsuit, recently filed in

Arizona State Superior Court by former CenturyLink employee Heidi Heiser, alleging that

Heiser “was fired for blowing the whistle on the telecommunications company’s high-pressure

sales culture that left customers paying millions of dollars for accounts they didn’t request.” The

Bloomberg article stated that Heiser “was fired days after notifying Chief Executive Officer Glen

Post of the alleged scheme during a companywide question-and-answer session held on an

internal message board.” On this news, CenturyLink’s share price fell $1.23, or 4.56%, to close

at $25.72 on June 16, 2017.

       On June 19, 2017, Bloomberg published a second article reporting that a consumer

complaint was filed against CenturyLink based on the whistleblower complaint alleging claims

of fraud, unfair competition, and unjust enrichment. On this news, CenturyLink’s shares fell

$0.36 per share, or 1.4 percent, to close at $25.36 on June 19, 2017.

       Defendants’ violations of the securities laws and the revelations thereof have caused the

Detroit Institutional Investor Group and the Class to incur significant losses.

                                           ARGUMENT

I.     THE RELATED ACTIONS SHOULD BE CONSOLIDATED

       The PSLRA provides that “[i]f more than one action on behalf of a class asserting

substantially the same claim or claims arising under this chapter [is] filed,” the court shall not

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appoint a lead plaintiff until “after the decision on the motion to consolidate is rendered.”

15 U.S.C. § 78u-4(a)(3)(B)(ii). Once the Court makes the consolidation ruling, the Court is

required to “appoint the most adequate plaintiff as lead plaintiff for the consolidated actions.”

Id.

          Under Rule 42(a) of the FRCP, consolidation is appropriate when actions involve

common questions of law or fact. See Fed. R. Civ. P. 42(a); see also In re BP, 758 F. Supp. 2d at

432-33 (consolidating cases that have “substantial commonalities, and [] involve overlapping

[d]efendants and a common core of facts and legal issues”) (internal quotation marks and citation

omitted). Consolidation is particularly appropriate in the context of securities class actions if the

complaints are based on common evidence. MANUAL FOR COMPLEX LITIG., FOURTH, § 11.631

(2004).

          The Related Actions are well-suited for consolidation. The complaints filed in each

action are substantially similar, as they allege nearly identical violations of law and arise from a

common nucleus of facts and circumstances—namely, the dissemination of materially false and

misleading statements concerning the Company’s illegal sales practices. The discovery to be

taken will, therefore, be virtually identical in each of these actions, and the overlap of legal and

factual issues means that consolidation will promote judicial efficiency and economy.

          Accordingly, the Detroit Institutional Investor Group respectfully requests that the Court

consolidate the Related Actions, and any other subsequently filed action pursuant to 15 U.S.C. §

78u-4(a)(3)(B)(ii) and Rule 42(a) of the FRCP.

II.       THE DETROIT INSTITUTIONAL INVESTOR GROUP SHOULD BE
          APPOINTED LEAD PLAINTIFF

          The Detroit Institutional Investor Group respectfully submits that it should be appointed

Lead Plaintiff because it filed the instant motion in a timely manner, believes it has the largest


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financial interest in this litigation of any qualified movant, and satisfies the typicality and

adequacy requirements of Rule 23.

       A.      The PSLRA Standard For Appointing Lead Plaintiff

       The PSLRA provides a straightforward, sequential procedure for selecting a lead plaintiff

for “each private action arising under [the Exchange Act] that is brought as a plaintiff class

action pursuant to the Federal Rules of Civil Procedure.” See 15 U.S.C. § 78u-4(a)(l); 15 U.S.C.

§ 78u-4(D)(3)(B). Pursuant to the PSLRA, a court is to consider all motions made by class

members within the sixty-day period prescribed by statute and appoint the movant that the court

determines to be most capable of adequately representing the interests of the class as lead

plaintiff. 15 U.S.C. § 78u-4(a)(3)(A)(i). Specifically, the PSLRA provides that a court:

       shall appoint as lead plaintiff the member or members of the purported plaintiff
       class that the court determines to be most capable of adequately representing the
       interests of class members ( . . . the “most adequate plaintiff”) . . . .

15 U.S.C. § 78u-4(a)(3)(B)(i).

       The PSLRA provides a presumption that the “most adequate plaintiff” is the person or

group of persons who: (1) filed a complaint or made a motion to serve as lead plaintiff; (2) has

the “largest financial interest” in the relief sought by the class; and (3) who otherwise satisfies

the requirements of Rule 23. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). This presumption may be

rebutted only upon “proof” that the presumptively most adequate plaintiff “will not fairly and

adequately protect the interests of the class” or “is subject to unique defenses that render such

plaintiff incapable of adequately representing the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II)

(emphasis added).




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        B.      The Detroit Institutional Investor Group Is The “Most Adequate Plaintiff”

                1.      The Detroit Institutional Investor Group’s Motion Is Timely

        The Detroit Institutional Investor Group filed its motion to serve as Lead Plaintiff in a

timely manner. Pursuant to 15 U.S.C. § 78u-4(a)(3)(A)(i), Amarendra Thummeti—the plaintiff

in the first-filed action—published notice on Globe Newswire on June 21, 2017. See Notice,

Burge Decl. Ex. D. That notice, in accordance with the PSLRA, stated that applications for

appointment as Lead Plaintiff must be made no later than 60 days from the date on which the

notice was published; i.e., August 21, 2017. The Detroit Institutional Investor Group filed this

motion seeking appointment as Lead Plaintiff within this deadline and thus satisfied the

procedural requirements of the PSLRA. 15 U.S.C. §78u-4(a)(3)(A)(i)(II).

                2.      The Detroit Institutional Investor Group Has The Largest Financial
                        Interest In The Relief Sought By The Class

        The PSLRA instructs the Court to adopt a rebuttable presumption that the “most adequate

plaintiff” for lead plaintiff purposes is the movant with “the largest financial interest in the relief

sought by the class,” so long as the movant “otherwise satisfies the requirements of Rule 23.” 15

U.S.C. § 78u-4(a)(3)(B)(iii)(I); see also Thompson v. Shaw Group, Inc., No. Civ.A.04-1685,

2004 WL 2988503, at *2 (E.D. La. Dec. 14, 2004) (“The chief criterion for selection of Lead

Plaintiff is the financial interest each plaintiff has in the litigation (i.e. loss sustained due to the

defendant’s alleged fraud).”)

        The Detroit Institutional Investor Group incurred a loss of $1,047,041.88 as calculated on

a LIFO basis on its Class Period transactions in CenturyLink securities. See Loss Analysis,

Burge Decl. Ex. B. The Detroit Institutional Investor Group is presently unaware of any other

movant with a larger financial interest in the outcome of the Related Actions. Consequently, and

because it also satisfies Rule 23’s typicality and adequacy requirements, the Detroit Institutional



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Investor Group is entitled to the legal presumption that they are the “most adequate plaintiff.”

See 15 U.S.C. § 78u-4(a)(3)(B)(iii);

               3.      The Detroit Institutional Investor Group Satisfies Rule 23’s Typicality
                       And Adequacy Requirements

       The PSLRA further provides that in addition to possessing the largest financial interest in

the outcome of the litigation, a lead plaintiff must “otherwise satisf[y] the requirements of Rule

23 of the Federal Rules of Civil Procedure.” See Kinzler v. First NBC Bank Holding Co., No.

16-4243, 2016 WL 4496764, at *1 (E.D. La. Aug. 26, 2016). At the lead plaintiff selection

stage, all that is required to satisfy Rule 23 is a “preliminary showing” that the lead plaintiff’s

claims are typical and adequate. See Tarica v. McDermott Int’l. Inc., No. Civ.A.99-3831, 2000

WL 377817, at *4 (E.D. La. Apr. 13, 2000); see also In re BP, 758 F. Supp. 2d at 437

(recognizing the “limited inquiry appropriate at this stage of the litigation”); see also In re

Kosmos Energy Ltd. Sec. Litig., No. 3:12-CV-373-B, 2012 WL 6199318, at *2 (N.D. Tex. Nov.

1, 2012) (“The Rule 23 inquiry is not rigorous here; at this stage of the proceedings, a lead

plaintiff applicant ‘need only make a preliminary showing that [it] satisfies these

requirements.’”) (citation omitted).

                         (i)   The Detroit Institutional Investor Group’s Claims Are Typical

       The typicality requirement of Rule 23(a)(3) is met when the claims of the representative

plaintiff “arise from a similar course of conduct and share the same legal theory” as those of the

class. Stirman v. Exxon Corp., 280 F.3d 554, 562 (5th Cir. 2002) (citation omitted); see also

Parker v. Hyperdynamics Corp., No. 4:12-CV-999, 2013 WL 623164, at *3 (S.D. Tex. Feb. 19,

2013) (citation omitted). “‘Typicality does not require a complete identity of claims. Rather, the

critical inquiry is whether the class representative’s claims have the same essential characteristics

of those of the putative class. If the claims arise from a similar course of conduct and share the


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same legal theory, factual differences will not defeat typicality.’” In re BP, 758 F. Supp. 2d at

435 (quoting James v. City of Dallas, 254 F.3d 551, 571 (5th Cir. 2001)).

        The typicality requirement is plainly satisfied here because the Detroit Institutional

Investor Group, which is not subject to any unique or special defenses, seeks the same relief and

advances the same legal theories as other Class members. Like all members of the Class, the

Detroit Institutional Investor Group seeks recovery for losses incurred as a result of Defendants’

misrepresentations and omissions that resulted in declines in the share price of CenturyLink

securities. These shared claims, which are based on the same legal theory and arise from the

same events and course of conduct as the Class’ claims, satisfy Rule 23(a)(3)’s typicality

requirement.

                        (ii)    The Detroit Institutional Investor Group Will Fairly And
                                Adequately Protect The Interests Of The Class

        The adequacy of representation requirement of Rule 23(a)(4) is satisfied when a

representative party establishes that it “will fairly and adequately protect the interests of the

class.” Fed. R. Civ. P. 23(a)(4). In order to satisfy this requirement, a prospective lead plaintiff

must show that it does not have any conflicts of interest with other class members and that the

plaintiff and counsel will vigorously prosecute the case. See Parker, 2013 WL 623164, at *3

(“The standard for determining adequacy requires an inquiry into [1] the zeal and competence of

the representatives’ counsel and [2] the willingness and ability of the representatives to take an

active role in and control the litigation and to protect the interests of absentees.”) (citation

omitted).

        Here, the Detroit Institutional Investor Group will fairly and adequately represent the

interests of the proposed Class. No antagonism exists between the Detroit Institutional Investor

Group’s interests and those of the absent Class members; rather, the interests of the Detroit


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Institutional Investor Group and Class members are squarely aligned. In addition, the Detroit

Institutional Investor Group has retained counsel highly experienced in prosecuting securities

class actions vigorously and efficiently, and timely submitted its choice to the Court for

approval, in accordance with the PSLRA. See 15 U.S.C. §§ 78u-4(a)(3)(A)(i)(II) and (B)(v); see

also Tarica, 2000 WL 377817, at *5. In addition, the Detroit Institutional Investor Group

suffered substantial losses due to Defendants’ alleged misconduct and, therefore, has a sufficient

interest in the outcome of this case to ensure vigorous prosecution of the Related Actions. See In

re Reliant Sec. Litig., No. 02-cv-1810, 2002 U.S. Dist. LEXIS 27777, at *9-10 (S.D. Tex. Aug.

27, 2002) (“[L]arge institutional investors . . . tend to be sophisticated investors capable of

controlling attorneys in securities fraud litigation, and the [PSLRA], by emphasizing financial

stake, expresses a preference for appointing such investors.”).

       Accordingly, the Detroit Institutional Investor Group satisfies the adequacy requirement.

       C.      As A Cohesive Group Of Sophisticated Investors, The Detroit Institutional
               Investor Group Is Precisely The Type Of Lead Plaintiff Congress Envisioned
               When It Passed The PSLRA

       The Congressional objective in enacting the lead plaintiff provisions of the PSLRA was

to encourage large, organized institutional investors to play a more prominent role in securities

class actions. See Statement of Managers – The Private Securities Litigation Reform Act of

1995, H.R. Conf. Rep. No. 104-369, at 34 (1995), reprinted in 1995 U.S.C.C.A.N. 730, 733

(“The Conference Committee believes that increasing the role of institutional investors in class

actions will ultimately benefit shareholders and assist courts by improving the quality of

representation in securities class actions.”). Congress reasoned that increasing the role of

institutional investors, which typically have a large financial stake in the outcome of the

litigation, would be beneficial because institutional investors with a large financial stake are

more apt to effectively manage complex securities litigation. See id. at 34-35, 1995

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U.S.C.C.A.N. at 733-34. To this end, many courts have recognized that the legislative history

reflects a clear preference for institutional investors to be appointed as lead plaintiff in securities

class actions. See Tarica, 2000 WL 377817, at *5 ( “[c]ourts have . . . recognized that the

PSLRA specifically encourages the appointment of institutional investors . . . as lead plaintiffs.”)

        Both Detroit P&F and Detroit Laborers are sophisticated institutional investors with

sufficient resources to adequately litigate the Related Actions and supervise Class counsel.

Detroit P&F has more than $4 billion in assets under management on behalf of more than 11,000

beneficiaries. See Joint Decl. ¶ 2. Detroit Laborers manages approximately $600 million in

assets on behalf of more than 10,000 beneficiaries. See id. ¶ 4. Furthermore, both Detroit P&F

and Detroit Laborers understand the fiduciary duties of a lead plaintiff and are willing to oversee

the vigorous prosecution of the litigation. See id. ¶¶ 2, 4, 11. In fact, both members of the

Detroit Institutional Investor Group are currently serving as lead plaintiff, Detroit Laborers in In

re Conn’s Inc. Securities Litigation, No. 14-cv-00548 (S.D. Tex.) and Detroit P&F in Beisel v.

La Quinta Holdings Inc., No. 16-cv-03068 (S.D.N.Y.). Additionally, Detroit P&F has served as

lead plaintiff in the past, and has recovered millions for investors. See, e.g., In re WSB Financial

Group Securities Litigation, No. 07-cv-01747 (W.D. Wash.) (recovering $4.85 million for

investors); In re SiRF Technology Holdings, Inc. Securities Litigation, No. 08-cv-00856 (N.D.

Cal.) (recovering $2.9 million for investors); Police and Fire Retirement System of the City of

Detroit v. Crane (Epocrates Securities Litigation), No. 13-cv-00945 (N.D. Cal.) (recovering

$5.1 million for investors).

        As a majority of courts in this Circuit and across the country have recognized, the

PSLRA expressly permits the appointment of a small, cohesive group of class members to serve

as Lead Plaintiff, such as the Detroit Institutional Investor Group. See, e.g., Stein v. Match Grp.,



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Inc., No. 3:16-cv-549-L, 2016 WL 3194334, at *6-8 (N.D. Tex. June 9, 2016) (appointing two-

member group as lead plaintiff and two firms as co-lead counsel); Izadjoo v. Kratz, No. CV H-

15-2213, 2016 WL 343989, at *4 (S.D. Tex. Jan. 28, 2016) (appointing two-member group as

lead plaintiff).

         Here, the members of the Detroit Institutional Investor Group include a small, cohesive

partnership of sophisticated institutional investors based in the same community (Detroit,

Michigan). The members of the Detroit Institutional Investor Group, through this local

relationship and shared dedication to corporate governance matters, determined on their own

volition to jointly seek appointment as Lead Plaintiff to provide the Class with the best possible

leadership.

         The members of the Detroit Institutional Investor Group have already demonstrated their

commitment to working cohesively in the efficient prosecution of this litigation, as reflected by

the Joint Declaration executed following a joint telephonic conference. See Joint Decl.; see, e.g.,

In re Spectranetics Corp. Sec. Litig., No. 08-cv-2048, 2009 WL 1663953, at *6 (D. Colo. June

15, 2009) (appointing group of investors as lead plaintiff because “the certifications and

declarations submitted by the . . . members of the [group] demonstrate that the [group members]

can and will work together to actively oversee the litigation, and to monitor the work of

counsel.”); see also In re Bank of Am. Corp. Sec., Derivative & ERISA Litig., 258 F.R.D. 260,

270 (S.D.N.Y. 2009) (appointing group and noting “declarations demonstrating cooperative

efforts among” the group’s members). Specifically, the Joint Declaration establishes, inter alia,

that:

        Based on their respective financial losses, and to ensure the Class is represented by
         knowledgeable institutional shareholders, Detroit P&F and Detroit Laborers affirmatively
         decided to seek joint appointment as Lead Plaintiff (Joint Decl., ¶¶ 2-6);



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           Detroit P&F and Detroit Laborers personally discussed seeking appointment in this case
            before filing a motion (Id., ¶ 8);

           Detroit P&F and Detroit Laborers have explicitly acknowledged and accepted their duties
            and obligations to all Class members if selected as Lead Plaintiff and are committed to
            seeking the largest possible recovery for the Class (Id., ¶¶ 2-6, 8, 10-11, 13, 15); and

           Detroit P&F and Detroit Laborers are committed to overseeing counsel to ensure that the
            case is efficiently litigated in the Class’ best interest (Id., ¶¶ 6, 8, 12-13, 16-17).

            Given the substantial due diligence, consideration, and deliberation that Detroit P&F and

Detroit Laborers independently conducted before deciding to seek appointment as Lead Plaintiff,

see Joint Decl. ¶ 8, the Detroit Institutional Investor Group is precisely the kind of cohesive

group that courts have appointed lead plaintiff under the PSLRA. See Canson, 2011 WL

5331712 at *3 (appointing group of two pension funds that “have stated their intention to work

together on behalf of the class”).

III.        THE COURT SHOULD APPROVE THE DETROIT INSTITUTIONAL
            INVESTOR GROUP’S CHOICE OF COUNSEL

            The PSLRA vests authority in the lead plaintiff to select and retain lead counsel for the

class, subject to the court’s approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v); see also In re BP, 758

F. Supp. 2d at 442. “[T]he court should generally employ a deferential standard in reviewing the

lead plaintiff’s choices.” In re Cendant Corp. Litig., 264 F.3d 201, 274 (3d Cir. 2001). The

Detroit Institutional Investor Group has selected Labaton Sucharow and Kirby McInerney—each

of whom has demonstrated its skill and expertise in successfully prosecuting securities fraud

class actions—to serve as Co-Lead Counsel for the Class.

            Labaton Sucharow has extensive experience litigating securities class actions and has

successfully prosecuted numerous securities fraud class actions throughout the United States on

behalf of injured investors. See Burge Decl., Ex. E. Labaton Sucharow served as a lead counsel

in In re American International Group, Inc. Securities Litigation, No. 04-cv-8141 (S.D.N.Y.), in


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which it achieved a recovery totaling more than $1 billion for injured investors. In addition,

Labaton Sucharow was a lead counsel in In re Countrywide Financial Corp. Securities

Litigation, No. 07-cv-5295 (C.D. Cal.), which achieved a settlement of $624 million—one of the

largest securities class action settlements arising from the financial crisis of 2007 and 2008.

Following six years of litigation, as co-lead counsel, Labaton Sucharow achieved a $170 million

recovery for investors in In re Fannie Mae 2008 Securities Litigation, No. 08-cv-7831

(S.D.N.Y.). Labaton Sucharow presently serves as lead or co-lead counsel in securities class

actions against Goldman Sachs Group, Inc. and Facebook, Inc. among other significant investor

class actions currently pending. See Burge Decl., Ex. E.

       Similarly, Kirby McInerney specializes in prosecuting complex class action litigation and

is one of the leading law firms in its field. See Burge Decl., Ex. F. Kirby McInerney has

successfully prosecuted numerous securities fraud class actions on behalf of injured investors,

including, among other complex actions: In re Citigroup Inc. Securities Litigation, No. 07-cv-

9901 (S.D.N.Y.) (recovering $590 million for investors); In re National City Corp. Securities,

Derivative & ERISA Litigation, No. 08-cv-70004 (N.D. Ohio) (recovering $168 million for

investors); and In re Wachovia Equity Securities Litigation, No. 08-cv-6171 (S.D.N.Y.)

(recovering $75 million for investors). Additionally, Kirby McInerney is currently serving as

lead or co-lead counsel in several high profile securities class actions, including: In re Supreme

Industries, Inc., Securities Litigation, No. 17-cv-00143 (N.D. Ind.); Diaz v. Northern Dynasty

Minerals Ltd., No. 17-cv-01241 (C.D. Cal.); and Esposito v. American Renal Associates

Holdings, Inc., No. 16-cv-11797 (D. Mass.).

       Furthermore, Fishman Haygood has substantial litigation experience in this district. See

Burge Decl., Ex. G. Thus, the firm is well qualified to represent the Class as Liaison Counsel.



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          In short, the Court may be assured that by granting this motion, the Class will receive the

highest caliber of legal representation.

                                           CONCLUSION

          For the foregoing reasons, the Detroit Institutional Investor Group respectfully requests

that the Court: (i) consolidate the Related Actions; (ii) appoint the Detroit Institutional Investor

Group as Lead Plaintiff; (iii) approve the Detroit Institutional Investor Group’s selection of

Labaton Sucharow and Kirby McInerney as Co-Lead Counsel and Fishman Haygood as Liaison

Counsel for the Class; and (iv) grant such other and further relief as the Court may deem just and

proper.




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DATED: August 21, 2017                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2017, a copy of the foregoing Memorandum of Law in

Support of the Motion of the Detroit Institutional Investor Group for Consolidation,

Appointment as Lead Plaintiff, and Approval of Selection of Counsel was filed electronically

and notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic

filing system. Parties may access this filing through the court’s CM/ECF System.



                                                         /s/ Jason W. Burge
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